                                                                                         Frederick T. Heblich Jr.
                                                                         First Assistant Federal Public Defender

                                                                                                  Brian J. Beck
  Juval O. Scott                                                                               Randy V. Cargill
  Federal Public Defender                                                                      Andrea L. Harris
                                                                                               Christine M. Lee
                                                                                                 Lisa M. Lorish
                                                                                               Erin M. Trodden
                                                                                        Nancy Dickenson Vicars
                                                                             Assistant Federal Public Defenders


  Roanoke office:
  210 First Street, SW, Suite 400                                                          Phone: (540) 777-0880
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  September 18, 2019

                                                          Via Electronic Mail

  Honorable Michael F. Urbanski
  Chief Judge
  United States District Court
  Richard H. Poff Federal Building
  210 Franklin Road, S.W., Room 350
  Roanoke, VA 24011-2204

            Re:       United States v. Matthew Ferguson; 4:18-cr-11

  Dear Chief Judge Urbanski:

  I am writing regarding the upcoming pre-trial hearing on the Matthew Ferguson
  case that will take place on Friday, September 27, 2019. The minute entry from the
  September 13, 2019 pre-trial conference requests a summons for Allegra Black. 1 Ms.
  Black represented Mr. Ferguson when she was an Assistant Federal Public
  Defender with my office. Fred Heblich was her co-counsel and is still employed by
  our office. Though the minute entry does not specifically reference a summons for
  Mr. Heblich, this letter is equally applicable to him, should the issue of a summons
  arise.

  Pursuant to the Guide to the Judiciary, Volume 20, Chapter 8, §810.30, both
  current and former employees of my office are considered judicial personnel. Section
  840(a) states that federal judicial personnel may not, in response to a request for
  testimony or the production of records in legal proceedings, comment, testify, or
  produce records without the prior approval of the determining officer, and per
  §840(b)(3) I am the determining officer for federal public defender employees.



  1
      Docket 752. The docket does not reveal that a formal subpoena has been issued.



Case 4:18-cr-00012-MFU-RSB Document 441 Filed 09/19/19 Page 1 of 2 Pageid#: 2581
                                                                                  Page 2


  Allegra Black and Fred Heblich do not have my approval to provide testimony,
  records, and/or comments on this matter, and both have been notified of my
  decision. I am denying authorization pursuant to §850(a)(9). Further, §830 sets
  forth the criteria for a party to seek testimony, records, and/or comments from
  judiciary personnel, disallowing blanket subpoenas and requiring a demonstration
  that the information is not readily available from other sources.

  I have enclosed the relevant portion of The Guide to the Judiciary, also available for
  your review on www.uscourts.gov. 2

  Please let me know if you have any questions or concerns.

  Respectfully,



  Juval O. Scott




  2
      https://www.uscourts.gov/sites/default/files/vol20-ch08.pdf



Case 4:18-cr-00012-MFU-RSB Document 441 Filed 09/19/19 Page 2 of 2 Pageid#: 2582
